Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 1 of 33 Page ID #2179




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


     In re: PARAQUAT PRODUCTS                              Case No. 3:21-md-3004-NJR
     LIABILITY LITIGATION
                                                           MDL No. 3004
     This Document Relates to All Cases



                              MEMORANDUM AND ORDER

 ROSENSTENGEL, Chief Judge:

          Pending before the Court are partial motions to dismiss filed by Defendants

 Chevron U.S.A. Inc. (Doc. 350) and the Syngenta Defendants (Doc. 352) (collectively,

 “Defendants”). 1 Plaintiffs filed responses in opposition (Docs. 695, 696), and Defendants

 filed replies (Docs. 809, 812). For the following reasons, the motions are granted in part

 and denied in part.

                                        FACTUAL BACKGROUND 2

          Paraquat dichloride (“Paraquat”) is a synthetic chemical compound that has been

 used as an active ingredient in herbicide products sold in the United States since the mid-

 1960s. Paraquat is used to kill broadleaf weeds and grasses in fruit and vegetable fields,

 to control weeds in orchards, and to dry plants before harvest by inhibiting

 photosynthesis, which results in destruction of cell membranes. It is typically applied via

 knapsack sprayers, hand-held sprayers, crop dusters, trucks with pressurized tanks, and



 1 Defendants have joined each other’s motion; accordingly, the Court refers to the motions as being filed
 by all Defendants and discusses them accordingly.
 2 Unless otherwise noted, the following facts are taken from Plaintiffs’ complaints. See, e.g., Case Nos. 21-

 pq-547-NJR, 21-pq-606-NJR.


                                               Page 1 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 2 of 33 Page ID #2180




 tractor-drawn pressurized tanks. The U.S. Environmental Protection Agency (EPA) has

 designated Paraquat as a “Restricted Use” product (RUP). (Doc. 352-3). RUPs have the

 potential to cause injury to applicators or bystanders without added restrictions. (Id.). As

 a RUP, Paraquat is not available for purchase by the public or for residential use and may

 only be applied by certified applicators. (Id.). It is one of the most widely used herbicides

 in the United States. (Doc. 352-2).

        Plaintiffs in this multi-district litigation (MDL) allege they developed Parkinson’s

 disease from exposure to Paraquat manufactured and distributed by Defendants.

 Parkinson’s disease is an incurable, progressive nervous system disorder that affects

 one’s movement. 3 Plaintiffs allege Paraquat enters the human body through absorption,

 inhalation, or ingestion. Paraquat then enters the bloodstream and, ultimately, the brain.

 There, Paraquat molecules allegedly cause damage and destruction to dopamine-

 producing neurons, leading to impaired signaling between neurons and causing the

 brain to lose control over motor function.

        Plaintiffs allege that many epidemiological studies have found an association

 between Paraquat exposure and Parkinson’s disease, including studies finding a two- to

 five-fold or greater increase in the risk of Parkinson’s disease in people with occupational

 exposure to Paraquat compared to people without such exposure. Plaintiffs further claim

 Defendants had knowledge of these studies, as well as the relationship between Paraquat

 exposure and Parkinson’s disease, yet actively concealed this information.



 3 Mayo Clinic, “Parkinson’s disease” https://www.mayoclinic.org/diseases-conditions/parkinsons-
 disease/symptoms-causes/syc-20376055 (last visited Feb. 9, 2022).


                                         Page 2 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 3 of 33 Page ID #2181




        Plaintiffs advance numerous claims against Syngenta, the primary manufacturer

 of Paraquat products, and Chevron, the exclusive United States distributor of Paraquat

 until 1986. 4 These theories include: strict product liability—design defect; strict product

 liability—failure to warn; negligence; public nuisance, violation of state consumer

 protection statutes; and breach of implied warranty of merchantability. Defendants now

 move to dismiss a number of these claims under Rule 12(b)(6) of the Federal Rules of

 Civil Procedure.

                                        LEGAL STANDARD

        The purpose of a motion to dismiss for failure to state a claim under Rule 12(b)(6)

 is to evaluate the adequacy of a complaint, not to determine the merits of the case. Gibson

 v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir. 1990). In deciding a motion to dismiss under

 Rule 12(b)(6), the Court accepts as true all well-pleaded facts in the complaint and draws

 all reasonable inferences in the plaintiff’s favor. Burke v. 401 N. Wabash Venture, LLC, 714

 F.3d 501, 504 (7th Cir. 2013).

        To survive a Rule 12(b)(6) motion, a plaintiff need only allege enough facts to state

 a claim for relief that is plausible on its face. Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

 570 (2007). A claim is plausible where a plaintiff “pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged.” Bilek v. Fed. Ins. Co., 8 F.4th 581, 586 (7th Cir. 2021) (quoting Ashcroft v. Iqbal, 556

 U.S. 662, 678 (2009)). The Seventh Circuit has interpreted Twombly and Iqbal to “require



 4Currently, Defendant Syngenta Crop Protection, LLC, is the leading manufacturer and distributor of
 Paraquat in the United States.


                                           Page 3 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 4 of 33 Page ID #2182




 ‘some specific facts’ to support the legal claims asserted in the complaint. Id. (quoting

 McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011)). “While the required level of

 specificity ‘is not easily quantified,’ a plaintiff must allege “enough details about the

 subject-matter of the case to present a story that holds together.” Id. Fundamentally, “the

 plausibility determination is a context-specific task that requires the reviewing court to

 draw on its judicial experience and common sense.” Id. at 586-87 (quoting W. Bend Mut.

 Ins. Co. v. Schumacher, 844 F.3d 670, 676 (7th Cir. 2016)).

                                         DISCUSSION

 I.     State Statutes of Repose

        A statute of repose places “an outer limit on the right to bring a civil action”

 measured “not from the date on which the claim accrues but instead from the date of the

 last culpable act or omission of the defendant.” CTS Corp. v. Waldburger, 573 U.S. 1, 8

 (2014). “A statute of repose ‘bar[s] any suit that is brought after a specified time since the

 defendant acted (such as by designing or manufacturing a product), even if this period

 ends before the plaintiff has suffered a resulting injury.’” Id. (quoting BLACK’S LAW

 DICTIONARY 1546 (9th ed. 2009)). “[S]tatutes of repose reflect legislative decisions that as

 a matter of policy there should be a specific time beyond which a defendant should no

 longer be subjected to protracted liability.” Id. at 9 (quoting School Board of Norfolk v.

 United States Gypsum Co., 360 S.E.2d 325, 328 (Va. 1987) (internal quotation marks

 omitted)). Equitable tolling is not available to pause the running of a statute of repose. Id.

        Defendants argue many claims should be dismissed because they are time-barred

 on the face of Plaintiffs’ complaints by applicable state statutes of repose. (Docs. 350, 351).


                                         Page 4 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 5 of 33 Page ID #2183




 In response, Plaintiffs argue that Defendants fraudulently concealed the dangers of using

 Paraquat, thereby tolling the statutes of repose of Illinois, Georgia, Connecticut, and

 Iowa. Specifically, they allege Defendants knew or should have known that Paraquat was

 a highly toxic substance that can cause severe neurological injuries and impairment, and

 Plaintiffs had no reason to suspect that working with Paraquat could cause them to

 develop Parkinson’s disease due to Defendants’ efforts to conceal the harmful nature of

 the product. And in other states—Iowa, Indiana, and North Carolina—statutes of repose

 do not apply to allegations involving exposure to an inherently dangerous substance that

 causes a latent disease. The Court addresses each state in turn.

        A. Illinois

        Under Illinois law, no strict product liability action shall be commenced later than

 “12 years from the date of first sale, lease or delivery of possession by a seller or 10 years

 from the date of first sale, lease or delivery of possession to its initial user, consumer, or

 other non-seller.” 735 ILL. COMP. STAT. § 5/13-213(b). Thus, Defendants argue, in cases

 governed by Illinois law where the alleged Paraquat exposure ended more than 10 years

 before a plaintiff sued, his or her strict liability claims must be dismissed. In response,

 Plaintiffs point to 735 ILL. COMP. STAT. § 5/13-215, which allows a plaintiff to bring an

 action within five years of discovering he or she has a cause of action if the defendant has

 fraudulently concealed the cause of action. “The concealment contemplated by section

 13–215 must consist of affirmative acts or representations calculated to lull or induce a

 claimant into delaying filing of his or her claim, or to prevent a claimant from discovering

 a claim.” Orlak v. Loyola Univ. Health Sys., 885 N.E.2d 999, 1009 (Ill. 2007).


                                         Page 5 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 6 of 33 Page ID #2184




        The Illinois Supreme Court has recognized that § 13-215 provides for tolling of the

 statute of repose if a defendant fraudulently conceals the cause of action. DeLuna v.

 Burciaga, 857 N.E.2d 229 (Ill. 2006). In DeLuna, a case involving legal malpractice, the court

 observed that while § 13-215 refers to a person’s “discovery” of a cause of action, and

 thus could be construed to only apply to statutes of limitations, prior Illinois case law, the

 rules of statutory interpretation, and “basic principles of justice and reason” mandate

 § 13-215’s application to statutes of repose. Id. at 240.

        While some might well point out that a plaintiff’s knowledge of his or her
        cause of action should be irrelevant where a statute of repose is concerned,
        as a statute of repose is intended to terminate the possibility of liability after
        a defined period of time, regardless of a potential plaintiff’s lack of
        knowledge of his or her cause of action . . . , there would be an obvious and
        gross injustice in a rule that allows a defendant . . . to conceal the plaintiff’s
        cause of action and then benefit from a statute of repose.

 Id. at 240, 242.

        At least one other MDL court evaluating whether to toll the Illinois statute of

 repose in cases outside legal malpractice has relied on DeLuna to find that the fraudulent

 concealment exception applies to strict product liability claims. See In re Fluoroquinolone

 Prod. Liab. Litig., No. CV 15-3417 (JRT), 2017 WL 690188, at *2 (D. Minn. Feb. 21, 2017).

 This Court likewise finds that the fraudulent concealment exception applies to Illinois’s

 strict product liability statute of repose.

        To establish fraudulent concealment of a cause of action in Illinois, a plaintiff must

 “show affirmative acts by the defendant which were designed to prevent, and in fact did

 prevent, the discovery of the claim.” Id. (citing Gredell v. Wyeth Labs., Inc., 803 N.E.2d 541,

 548 (Ill. App. Ct. 2004)). The defendants must have known the misrepresentations were


                                         Page 6 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 7 of 33 Page ID #2185




 false and made them with the intent to deceive the plaintiff, and the plaintiff must have

 detrimentally relied on the representations such that he or she delayed filing suit until

 after the statute of limitations expired. Gredell, 803 N.E.2d at 548. Mere silence by

 defendants and failure by a plaintiff to learn of his cause of action is not enough. Id.

        Here, the allegations in Plaintiffs’ complaint are sufficient to establish fraudulent

 concealment of the cause of action. They allege that Defendants had a duty to disclose the

 hazards of Paraquat and their failure to do so constitutes a false representation;

 Defendants made affirmative false representations about the safety of Paraquat;

 Defendants made those representations with the intent to deceive Plaintiffs; and Plaintiffs

 relied on this intentional concealment to their detriment, as the concealment prevented

 Plaintiffs from learning about the cause of action through the exercise of ordinary

 diligence.

        Furthermore, the Court disagrees with Defendants’ assertion that fraudulent

 concealment only applies if Plaintiffs allege conduct above and beyond the wrongdoing

 upon which their failure to warn claims are founded. The Illinois Supreme Court has held

 that the alleged conduct establishing fraudulent concealment need not be different from

 the statements or omissions that form the basis of the cause of action. Henderson Square

 Condo. Ass’n v. LAB Townhomes, LLC, 46 N.E.3d 706, 717, opinion modified on denial of reh’g

 (Jan. 28, 2016). The acts “may be concurrent or coincident with it, or even precede it,

 provided they are of such a nature * * * as to operate after the time when the cause of

 action arose and thereby prevent its discovery, and were so designed and intended.” Id.

 (citation omitted).


                                        Page 7 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 8 of 33 Page ID #2186




        Plaintiffs generally allege that despite the risks associated with Paraquat and

 Defendants’ duty to disclose such hazards, the Paraquat manufactured and distributed

 by Defendants was not accompanied by a warning that, when inhaled, ingested, or

 absorbed into the body, it was likely to cause latent neurological damage, including

 Parkinson’s disease. Thus, when Plaintiffs were diagnosed with Parkinson’s, or even

 began experiencing symptoms, they would not have known of any connection between

 their exposure to Paraquat and their neurological disease, causing them to delay filing

 any claims. At the very least, whether the alleged omissions prevented Plaintiffs from

 filing suit within the limitations period is a plaintiff-specific inquiry that requires

 additional fact discovery.

        Finally, Defendants claim Plaintiffs’ allegations fall short of the heightened

 pleading standard under Federal Rule of Civil Procedure 9(b). But because the statute of

 repose is an affirmative defense, Plaintiffs had no obligation under Rule 9(b) to plead

 around it. Indep. Tr. Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930, 935 (7th Cir. 2012) (“a

 plaintiff is not required to plead facts in the complaint to anticipate and defeat affirmative

 defenses”). Plaintiffs are not claiming the tort of fraudulent concealment; they allege that

 Defendants fraudulently concealed the cause of action. Both cases cited by Defendants

 involved complaints specifically alleging claims of fraud or the tort of fraudulent

 concealment and, as such, are inapposite. See Squires-Cannon v. Forest Pres. Dist. of Cook

 Cty., 897 F.3d 797, 805 (7th Cir. 2018); DiLeo v. Ernst & Young, 901 F.2d 624 (7th Cir. 1990).

        For these reasons, the Court finds that the Illinois Plaintiffs have sufficiently

 pleaded facts establishing fraudulent concealment, and their strict product liability


                                         Page 8 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 9 of 33 Page ID #2187




 claims will not be dismissed as time barred by Illinois’s statute of repose.

        B. Iowa

        Defendants argue that, under Iowa’s statute of repose, all strict liability,

 negligence, and warranty claims must be dismissed in any case involving exposure more

 than 15 years before Plaintiffs sued. See IOWA CODE § 614.1(2A)(a). Plaintiffs assert, and

 Defendants acknowledge, however, that the statute does not apply if the manufacturer

 or distributor “intentionally misrepresents facts about the product or fraudulently

 conceals information about the product and that conduct was a substantial cause of the

 claimant’s harm.” Id. The statute also does not apply “to the time period in which to

 discover a disease that is latent and caused by exposure to a harmful material,” in which

 case the cause of action accrues when the disease and its cause is known or should have

 been known by the plaintiff. Id. § 614.1(2A)(b)(1). A “harmful material” is defined as “any

 substance which is determined to present an unreasonable risk of injury to health or the

 environment by the United States environmental protection agency pursuant to the

 federal Toxic Substance Control Act, 15 U.S.C. § 2601 et seq., or by this state, if that risk is

 regulated by the United States environmental protection agency or this state.” Id.

 § 614.1(2A)(b)(2).

        Defendants claim neither exception applies here, but the Court disagrees as to the

 latent disease exception. Plaintiffs argue Paraquat is a Restricted Use Pesticide (RUP),

 which the EPA describes as having “the potential to cause unreasonable adverse effects

 to the environment and injury to applicators or bystanders.” Thus, Paraquat clearly is a

 harmful material in that it presents “an unreasonable risk of injury to health or the


                                         Page 9 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 10 of 33 Page ID #2188




 environment.” Defendants counter, however, that the exception only applies to

 substances regulated by the EPA pursuant to the Toxic Substance Control Act, and Paraquat

 does not fall in that category. Instead, Paraquat is regulated under the Federal Insecticide,

 Fungicide, and Rodenticide Act (FIFRA).

           The Court does not read the statute so narrowly. A “harmful material” is also one

 that is determined to present an unreasonable risk of injury to health or the environment

 by the state of Iowa, if that risk is regulated by the state of Iowa. § 614.1(2A)(b)(2). Iowa

 has adopted the EPA’s list of Restricted Use Pesticides (RUP), which includes Paraquat.

 See   5     IOWA    CODE.   §   206.20;    “Restricted    Use   Pesticides   Updated   List,”

 https://www.epa.gov/system/files/documents/2021-10/rup-report-10-08-2021.pdf

 (last visited Feb. 10, 2022). As a RUP, Iowa regulates the use of Paraquat including

 certification standards for those who purchase, apply, and handle it. 5 IOWA CODE § 206,

 et seq. Therefore, the Court finds that Paraquat is a harmful material as defined by the

 Iowa legislature, and the statute of repose does not apply in this case.

           C. Connecticut

           Under Connecticut law, product liability claims are barred if filed later than

 10 years from the date the defendant “last parted with possession or control of the

 product.” CONN. GEN. STAT. § 52-577a(a). A “product liability claim” includes, but is not

 limited to strict liability, negligence, breach of express or implied warranty, failure to

 warn, and misrepresentation. Id. § 52-572m. Thus, Defendants argue that any action

 governed by Connecticut law must be dismissed entirely if the plaintiff used Paraquat

 more than 10 years before filing suit.


                                           Page 10 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 11 of 33 Page ID #2189




        Again, Plaintiffs rely on the exception for fraudulent concealment. Connecticut’s

 exception states: “The ten-year limitation provided for in subsection (a)… shall not

 preclude any action against a product seller who intentionally misrepresents a product

 or fraudulently conceals information about it, provided the misrepresentation or

 fraudulent concealment was the proximate cause of harm of the claimant.” CONN. GEN.

 STAT. § 52-577a(d). The exception concerns concealment of facts about the product in

 issue, not concealment of the cause of action. Hubbard-Hall, Inc. v. Monsanto Co., 98 F.

 Supp. 3d 480, 487 (D. Conn. 2015) (“Section 52–577a(d) . . . permits an otherwise barred

 action if the defendant intentionally misrepresents a product or fraudulently conceals

 information about it.”) (quoting CONN. GEN. STAT. § 52–577a(d)).

        Thus, to qualify for the exception, the Connecticut Plaintiffs must allege:

 (1) ”defendants had actual awareness, rather than imputed knowledge, of material

 information about the product; (2) that they intentionally concealed this information,

 either through intentional misstatement, affirmative act of concealment, or failure to

 disclose when under a duty to do so; and (3) that plaintiff’s reliance on the misstatement

 or omission proximately caused the harm.” Hubbard-Hall, Inc. v. Monsanto Co., 98 F. Supp.

 3d 480, 488 (D. Conn. 2015). “Information about a product is ‘material’ if it is likely to

 affect the decisions or conduct of its users.” Id. at n.7 (citing Miller v. Guimaraes, 829 A.2d

 422, 434 (Conn. 2003)).

        Plaintiffs allege Defendants—at the time the Paraquat was sold to Plaintiffs—

 knew that Paraquat was designed, manufactured, formulated, and packaged such that it

 was likely to be inhaled, ingested, and absorbed into the bodies of people who used it;


                                        Page 11 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 12 of 33 Page ID #2190




 knew that it was likely to cause latent neurological damage and neurogenerative disease,

 including Parkinson’s disease; failed to provide adequate instructions regarding

 avoiding those risks; deliberately crafted their label, marketing, and promotion to

 mislead farmers and consumers; and engaged in selective fraudulent research, testing,

 and advertising, all in an effort to turn a profit by convincing the agricultural industry

 that Paraquat did not cause Parkinson’s disease. See, e.g., O’Connor v. Syngenta, Case 3:21-

 pq-00556-NJR, at Doc. 1. They further allege that Defendants’ actions and omissions were

 a proximate cause of their severe and permanent physical injuries, pain, and disability.

 Id. Based on these allegations, Plaintiffs have adequately alleged the elements of

 fraudulent concealment under Connecticut law.

           D. Georgia

           In Georgia, “no action shall be commenced . . . with respect to an injury after ten

 years from the date of the first sale for use or consumption of the personal property

 causing or otherwise bringing about the injury.” GA. CODE § 51-1-11(b)(2). Defendants

 argue that in cases subject to Georgia’s statute of repose and involving exposure more

 than 10 years before Plaintiffs sued, all strict product liability claims must be dismissed.

           Georgia’s statute of repose contains exceptions, however, for claims of willful,

 wanton, or reckless disregard for life or property.5 § 51-1-11 (c); Chrysler Grp., LLC v.

 Walden, 792 S.E.2d 754, 759 (2016); Watkins v. Ford Motor Co., 190 F.3d 1213, 1216 (11th Cir.

 1999). “Willful conduct is based on an actual intention to do harm or inflict injury; wanton

 conduct is that which is so reckless or so charged with indifference to the


 5   It also does not apply to failure to warn claims. § 51-1-11 (c).


                                                  Page 12 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 13 of 33 Page ID #2191




 consequences . . . [as to be the] equivalent in spirit to actual intent.” Watkins, 190 F.3d at

 1216–17. Georgia courts define reckless conduct as “an act that is intended by the actor,

 [although] the actor does not intend to cause the harm which results from it. It is enough

 that he realize[s] or, from facts which he knows, should realize that there is a strong

 probability that harm may result, even though he hopes or even expects that his conduct

 may prove harmless.” Chrysler Grp., LLC, 792 S.E.2d at 760-61 (citation and quotation

 marks omitted).

        Defendants assert Plaintiffs have pleaded no facts that would support applying

 this exception, nor could they, because selling a product that has been available for

 decades, in an industry regulated by the EPA, cannot be considered willful, reckless, or

 wanton. The Court disagrees and finds that Plaintiffs have alleged facts sufficient to meet

 the “reckless disregard” exception to the Georgia statute of repose. In the Georgia

 Plaintiffs’ complaints, they allege Defendants “were fully aware of the safety risks of

 Paraquat,” yet “deliberately crafted their label, marketing, and promotion to mislead

 farmers and consumers.” See, e.g., Jones v. Syngenta AG, No. 3:21-pq-669 at Doc. 1, ¶ 124.

 Plaintiffs claim Defendants did this with “conscious disregard of Plaintiff’s rights” to

 “turn a profit by convincing the agricultural industry that Paraquat did not cause

 Parkinson’s Disease, and that full disclosure of the true risks of Paraquat would limit the

 amount of money Defendants would make selling Paraquat.” Id. Based on these

 allegations, the Court finds Plaintiffs have adequately alleged that Defendants acted with

 reckless disregard for life, placing them within the exception to the statute of repose. The

 Court is not convinced that the regulation of Paraquat by the EPA requires a different


                                        Page 13 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 14 of 33 Page ID #2192




 result, as the case cited by Defendants was at the summary judgment phase and involved

 compliance with FAA regulations. See Taylor v. Mooney Aircraft Corp., 464 F. Supp. 2d 439,

 448 (E.D. Pa. 2006), aff’d but criticized, 265 F. App’x 87 (3d Cir. 2008). And even the Taylor

 case recognized that “[c]ompliance with the regulations will not prevent the imposition

 of punitive damages if other evidence is presented showing culpable behavior.” Id.

 Plaintiffs have alleged such behavior here.

        E. North Carolina

        In North Carolina, “[n]o action for the recovery of damages for personal injury,

 death, or damage to property based upon or arising out of any alleged defect or any

 failure in relation to a product shall be brought more than 12 years after the date of initial

 purchase for use or consumption.” N.C. GEN. STAT. § 1-46.1. This version of the statute

 applies to product liability actions accruing on or after October 1, 2009, while claims

 accruing earlier are subject to a 6-year limit. See N.C. GEN. STAT. § 1-50(a)(6) (1995). Both

 versions of the statute apply to all product liability claims, regardless of their nature.

 Cramer v. Ethicon, Inc., No. 1:20-CV-95-MOC-WCM, 2021 WL 243872, at *3 (W.D.N.C. Jan.

 25, 2021). Accordingly, Defendants argue any actions governed by North Carolina law

 that allege exposure ending more than 12 years before Plaintiffs sued must be dismissed

 in their entirety.

        There is disagreement among courts, however, as to whether “personal injury”

 includes “diseases” under North Carolina law. In Wilder v. Amatex Corp., the North

 Carolina Supreme Court held that a different, repealed statute of repose, § 1-15(b), was

 not intended by the legislature to apply to claims arising from diseases such as asbestosis,


                                        Page 14 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 15 of 33 Page ID #2193




 but did apply to latent injuries. 336 S.E.2d 66, 72-73 (N.C. 1985). The court explained the

 difference:

         A disease presents an intrinsically different kind of claim. Diseases such as
         asbestosis, silicosis, and chronic obstructive lung disease normally develop
         over long periods of time after multiple exposures to offending substances
         which are thought to be causative agents. It is impossible to identify any
         particular exposure as the “first injury.” Indeed, one or even multiple
         exposures to an offending substance in these kinds of diseases may not
         constitute an injury. The first identifiable injury occurs when the disease is
         diagnosed as such, and at that time it is no longer latent.

 Id. at 70.

         A year later, the Fourth Circuit Court of Appeals adopted Wilder’s reasoning in

 finding that the six-year statute of repose found in § 1-50(a)(6)—the prior version of the

 statute at issue here—did not apply to claims arising out of disease. Hyer v. Pittsburgh

 Corning Corp., 790 F.2d 30, 33–34 (4th Cir. 1986). In 2016, the Fourth Circuit again applied

 Wilder to find the statute of repose found in § 1-52(16), regarding certain personal injuries,

 also did not apply to claims arising out of disease. Stahle v. CTS Corp., 817 F.3d 96, 100

 (4th Cir. 2016) (“We understand that North Carolina law is settled that disease is not a

 latent injury; instead, the legal injury and awareness of that injury occur simultaneously

 at diagnosis.”). Id. at 110 (emphasis added).

         In a concurring opinion in Stahle, Judge Thacker was “reluctant to afford

 substantial weight” to Hyer given that Wilder—upon which Hyer relied—construed a

 statute that only encompassed claims involving “bodily injuries” while the statute of

 repose at issue in Hyer generally referenced “personal injur[ies].” Id. at 112 (Thacker, J.,

 concurring). Nevertheless, Judge Thacker recognized that, post-Hyer, the North Carolina



                                        Page 15 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 16 of 33 Page ID #2194




 Supreme Court clarified that “[t]he term personal injury has a wide range of meanings,”

 but, in the context of § 1-52(16), it includes latent injuries. Id. (quoting Misenheimer v.

 Burris, 637 S.E.2d 173, 175 (2006)). Judge Thacker continued: “At first blush, one would

 think a disease is—or at least breeds—a latent injury. But that is not the way North

 Carolina sees it. North Carolina has recognized that diseases can be ‘the result [not] of a

 single incident but rather of prolonged exposure to hazardous conditions of a disease-

 causing agent.’” Id. (quoting Booker v. Duke Med. Ctr., 297 N.C. 458, 256 S.E.2d 189, 204

 (1979)).

        Under this understanding of North Carolina law, the answer here seems

 straightforward: a disease is not a latent “personal injury,” meaning the statute of repose

 at issue does not apply to the North Carolina Plaintiffs’ claims. But, as Defendants point

 out in their reply, the Seventh Circuit Court of Appeals has expressly rejected this

 interpretation of North Carolina law as it applies to § 1-50(a)(6), the pre-2009 statute of

 repose. In Klein v. DePuy, Inc., the Seventh Circuit held that it “cannot follow the Fourth

 Circuit,” because the “plain language of the statute, its history, and North Carolina case

 law all support our belief that no exception was intended.” 506 F.3d 553, 557-59 (7th Cir.

 2007). Instead, the Seventh Circuit predicted that the North Carolina Supreme Court

 would not apply an exception to § 1-50(a)(6) for diseases. Id. Defendants argue that this

 Court is bound by the Seventh Circuit’s understanding of North Carolina law, meaning

 there is no exception for latent diseases.

        The Seventh Circuit’s interpretation of North Carolina law has been criticized. In

 In re Dow Corning Corp., the Sixth Circuit noted that “North Carolina courts have


                                        Page 16 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 17 of 33 Page ID #2195




 consistently held . . . that where diseases are concerned, the only possible point in time

 from which to measure the first injury in the context of a disease claim is when the disease

 is diagnosed.” In re Dow Corning Corp., 778 F.3d 545, 552 (6th Cir. 2015) (citation and

 internal quotations omitted). In a footnote, the court expressed its disagreement with the

 Seventh Circuit’s decision in Klein:

         Klein itself appears to be at odds with North Carolina law, as the North
         Carolina legislature has made it clear that the disease exception continues
         to apply to its statute of repose for product liability claims. See 2009 N.C.
         Laws S.L.2009–420 (S.B.882) (Extending the statute of repose from six to
         twelve years and stating that “[n]othing in this act is intended to change
         existing law relating to product liability actions based upon disease.”). See
         also 2014 N.C. Sess. Laws 2014–44, § 1 (S.B.58) (rejecting the Supreme
         Court’s interpretation of N.C. Stat. § 1–52(16) in CTS Corp. v. Waldburger, –
         –– U.S. ––––, 134 S.Ct. 2175, 189 L.Ed.2d 62 (2014), and affirming an
         exception to the statute of repose for latent disease claims linked to
         groundwater contamination). We also note that Klein has never been cited
         by a North Carolina appellate court.

 Id. at n.2.

         Another district court in this Circuit faced the same issue in 2019—whether to

 follow North Carolina law or Seventh Circuit precedent regarding the statute of repose.

 See In re Biomet M2a Magnum Hip Implant Prod. Liab. Litig., No. 3:12-MD-2391, 2019 WL

 110892 (N.D. Ind. Jan. 3, 2019). In the Biomet MDL, Judge Miller in the Northern District

 of Indiana aptly observed that by taking the Klein approach, “in which each statute of

 repose must be analyzed separately,” a question of first impression arose as to whether a

 “disease exception” exists for § 1-46.1(1) and, previously, § 1-50(a)(6). Id. at *5. By taking

 the Hyer approach, the “disease exception” first referenced in Wilder applies to most, if

 not all, statutes of repose. Id. Judge Miller determined that a federal district court in North



                                        Page 17 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 18 of 33 Page ID #2196




 Carolina had a much better chance of deciding which path was the right one to take, and

 so he denied the defendants’ motions for summary judgment without prejudice to

 refiling them after they were remanded for trial. Id. at *6.

         Since the decision in the Biomet MDL, a North Carolina district court has again

 followed Hyer in recognizing a latent disease exception to § 1-46.1 and § 1-50(a)(6). 6

 Cramer v. Ethicon, Inc., No. 1:20-CV-95-MOC-WCM, 2021 WL 243872 (W.D.N.C. Jan. 25,

 2021). The Cramer court defined a “true latent disease” as one that “develops within the

 body over an extended time period before manifesting any symptoms,” making it

 “difficult, if not impossible, to determine the first point at which the plaintiff was first

 ‘injured.’” Id. at *5. Such diseases, unlike acute injuries, “typically develop after multiple

 exposures to a harmful substance and that one particular exposure cannot be identified

 as the ‘injury-causing’ event.” Id.

         Here, Plaintiffs have alleged they developed Parkinson’s disease, a progressive

 neurodegenerative disorder that manifests itself over years, possibly decades, from their

 exposure to Paraquat. See, e.g., Heath v. Syngenta, 3:21-pq-734, Doc. 1 at ¶ 46. They further

 allege multiple exposures to Paraquat over a period time such that one certain exposure

 cannot be identified as the “injury-causing” event. Id. at ¶¶ 114, 133. Because Plaintiffs

 allege their exposure to Paraquat caused them to develop a latent “disease” as that term

 is understood by North Carolina state and federal courts, this Court finds that § 1-46.1




 6 The plaintiff in that case did not qualify for the exception given that her urinary tract and bladder
 infections resulting from a pelvic mesh implant did not fit the definition of a disease for purposes of the
 statute of repose. Cramer v. Ethicon, Inc., No. 1:20-CV-95-MOC-WCM, 2021 WL 243872, at *5 (W.D.N.C. Jan.
 25, 2021).


                                             Page 18 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 19 of 33 Page ID #2197




 and § 1-50(a)(6) do not bar the North Carolina Plaintiffs’ claims.

         F. Indiana

         Indiana’s statute of repose states that a product liability action sounding in

 negligence or strict liability “must be commenced . . . within ten (10) years after the

 delivery of the product to the initial user or consumer.” IND. CODE § 34-20-3-1(b)(2).

 Defendants assert the statute of repose also extends to breach of warranty claims that

 allege tortious personal injury. Thus, Defendants argue, all strict liability, negligence, and

 warranty claims must be dismissed where Plaintiffs’ alleged exposure ended more than

 ten years before they sued.

         In response, Plaintiffs refer to the Indiana Supreme Court’s holding that the

 “Product Liability Act statute of repose does not apply to cases involving protracted

 exposure to an inherently dangerous foreign substance” such as asbestos. Myers v. Crouse-

 Hinds Div. of Cooper Indus., Inc., 53 N.E.3d 1160, 1167 (Ind. 2016). Additionally, where a

 product liability claim is disguised as a warranty claim, it is subsumed by the Indiana

 Product Liability Act (“IPLA”). 7 Cavender v. Medtronic, Inc., No. 3:16-CV-232, 2017 WL

 1365354, at *6-7 (N.D. Ind. Apr. 14, 2017).

         Here, the Indiana Plaintiffs have brought strict liability and negligence claims

 under the IPLA, asserting that exposure to Paraquat, an inherently dangerous foreign

 substance, has caused their Parkinson’s disease. Further, they do not dispute Defendants’

 contention that their implied warranty of merchantability claims are subsumed by the



 7 Plaintiffs do not dispute Defendants’ contention that their implied warranty of merchantability claims
 are subsumed by the IPLA.


                                            Page 19 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 20 of 33 Page ID #2198




 IPLA. And in reply, Defendants admit “Indiana’s statute of repose has been construed by

 its courts to exclude claims for disease.” (Doc. 812 at p. 4). Accordingly, the Court finds

 that the Indiana Plaintiffs’ claims are not barred by the statute of repose.

         G. Tennessee

         Defendants also raise the Tennessee statute of repose, but as pointed out by

 Plaintiffs, the only case Defendants challenge under Tennessee law was voluntarily

 dismissed. Therefore, the issue of whether the Tennessee statute of repose bars any cases

 in this MDL is not ripe for consideration.

 II.     Public Nuisance Claims

         Defendants next seek to dispose of Plaintiffs’ public nuisance claims as a simple

 repackaging of their product liability claims.

         “A public nuisance is ‘an unreasonable interference with a right common to the

 general public,’ usually involving a significant interference with public health, safety,

 peace, comfort, or convenience.” Michigan v. U.S. Army Corps of Engineers, 758 F.3d 892,

 900 (7th Cir. 2014) (quoting Restatement (Second) of Torts). Examples of public nuisances

 include toxic runoff into a river, the discharge of noxious gas from one state into another,

 and changes to a state’s drainage system that causes flooding in the farmland of another

 state. Id.

         Courts have been wary, however, of extending public nuisance law to cover claims

 regarding non-defective products that are legally sold, absent some additional

 wrongdoing. See State ex rel. Hunter v. Johnson & Johnson, 499 P.3d 719, 726 (Okla. 2021)

 (“Public nuisance is fundamentally ill-suited to resolve claims against product


                                       Page 20 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 21 of 33 Page ID #2199




 manufacturers . . . .”); City of Philadelphia v. Beretta U.S.A., Corp., 126 F. Supp. 2d 882, 911

 (E.D. Pa. 2000), aff’d, 277 F.3d 415 (3d Cir. 2002) (“[A]ppellate courts have refrained from

 applying public nuisance doctrine in cases where the instrument of the nuisance is a

 lawfully sold product which has left the manufacturer’s control” as it is “nothing more

 than a clever, but transparent attempt at an end run around the legislature’s statutory

 prerogatives.”). Accordingly, Defendants argue that Plaintiffs’ public nuisance claims

 must fail when they are attacking the product itself rather than any additional conduct

 that created a public nuisance.

        Plaintiffs acknowledge that Defendants’ citation of the law is correct, but they

 contend they have alleged the requisite additional wrongdoing—Defendants advertised

 and promoted a dangerous product, despite knowing of its disease-causing properties

 prior to marketing it in the United States. Plaintiffs cite to County of Santa Clara v. Atlantic

 Richfield Co., in which the plaintiffs, on behalf of the People, alleged the defendants

 promoted lead paint for interior use even though they had known for nearly a century

 that the use of lead paint was hazardous to humans. Cty. of Santa Clara v. Atl. Richfield Co.,

 137 Cal. App. 4th 292, 309 (Ca. Ct. App. 2006). The California Court of Appeals found this

 was sufficient to state a claim for public nuisance. Id. At the same time, however, the court

 noted that it was a civil action brought in the name of the People seeking abatement as

 the remedy. Id. As to another claim asserted by a class of individual plaintiffs, the Court

 noted it was “reluctant to extend liability for damages under a public nuisance theory to

 an arena that is otherwise fully encompassed by products liability law.” Id. at 313. Thus,

 while the class alleged defendants did more than merely manufacture and distribute a


                                         Page 21 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 22 of 33 Page ID #2200




 product and fail to warn of its dangers, their public nuisance claim seeking damages was

 “much more like a products liability cause of action because it is, at its core, an action for

 damages for injuries caused to plaintiffs’ property by a product.” Id.

        Like the class allegations in Santa Clara, the Court finds Plaintiffs’ public nuisance

 claims to be more like a products liability cause of action than an action to truly address

 a public nuisance. Plaintiffs complain that Syngenta promoted the benefits of Paraquat

 on its website while failing to warn of its risks, which is repetitive of Plaintiffs’ failure to

 warn claim. They seek damages for their alleged injuries rather than abatement of any

 true public nuisance. Moreover, Plaintiffs provide no basis for their public nuisance claim

 against Chevron, which stopped distributing Paraquat in 1986. Accordingly, the Court

 agrees with Defendants that Plaintiffs’ public nuisance claims must fail.

        A. Interference with a Public Right

        Even if a public nuisance claim were a viable cause of action in this case, Plaintiffs

 have failed to sufficiently plead its elements. Under the law of every state governing a

 cause of action in this MDL, Plaintiffs must allege interference with a “public right.”

 See Doc. 351 at n.13. A “public nuisance” involves the unreasonable interference with a

 right common to all members of the general public. 7 American Law of Torts § 20:5.

 A public right is “collective in nature.” Restatement (Second) of Torts § 821B (1979). Thus,

 pollution of a stream that deprives riparian owners of the use of that water for their land

 is not a public nuisance. Id. But if that pollution then prevents the use of a public beach

 or kills the fish in a stream, depriving all community members the right to fish, then that

 pollution becomes a public nuisance. Id. Defendants argue that Paraquat is a product


                                          Page 22 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 23 of 33 Page ID #2201




 used only by certain individuals, who are specifically authorized to use it, in the course

 of private employment. Thus, Plaintiffs cannot show harm to the general public.

        In response, Plaintiffs assert that long-term exposure to Paraquat by soil

 microorganisms and plant roots results in “harmful biomagnification in humans and

 mammals,” and that “extensive Paraquat applications lead to widespread residues in the

 soil surface and aquatic environments that ultimately enter the food chain and damage

 the ecosystem.” Thus, there is “a sufficient basis to believe that paraquat substantially

 and unreasonably interferes with a public right to be free from pollutants of land, water,

 and air resources to protect the food chain shared by all.” (Doc. 695 at p. 19).

        The cases in this MDL, however, involve injuries to individuals allegedly caused

 by direct exposure to Paraquat. Plaintiffs do not allege soil or water contaminated with

 Paraquat caused their Parkinson’s disease. They claim Defendants acted negligently in

 relation to Paraquat’s ability to be inhaled, ingested, or absorbed into the bodies of people

 who used, were nearby while it was being used, or who entered fields and orchards

 where it had been sprayed. Therefore, the Court finds Plaintiffs have not alleged any

 interference with a public right.

        B. Control over Paraquat

        Finally, in 11 states whose laws govern actions in this MDL, Plaintiffs must allege

 Defendants had “control” over the product at the time the damage occurred. (Doc. 351 at

 n.14). “The purpose of public nuisance law has been viewed as intended to give public

 authorities a legal remedy to terminate the conduct of a defendant that is violating a

 public right and injuring the public safety, health, or welfare.” 132 Am. Jur. Proof of Facts


                                       Page 23 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 24 of 33 Page ID #2202




 3d 193. Thus, in order to seek abatement of a public nuisance, a defendant must have

 control over the instrumentality causing the nuisance condition. Id.

        Defendants argue that Plaintiffs cannot sufficiently plead the element of control,

 as they allege their injuries resulted from Paraquat application that occurred after the

 product left Defendants’ control. In response, Plaintiffs argue Defendants knew of the

 dangers of Paraquat, yet they failed to “tackle the problem.” They claim Defendants had

 a tangible role in carrying on the nuisance by continuing their daily business operations,

 knowing of the potential harm to Plaintiffs and the public, without taking any steps to

 “rectify paraquat’s toxic redox component prior to dumping the hazardous product onto

 their unsuspecting consumers.” (Doc. 695 at p. 21). Plaintiffs cite In re National Prescription

 Opiate Litigation, in which the District Court for the Northern District of Ohio found the

 defendants had “control” over the nuisance in that their “conduct in carrying out their

 business activities [was] the instrumentality by which the nuisance was created and

 fueled.” In re Nat’l Prescription Opiate Litig., No. 1:17-MD-2804, 2019 WL 3737023, at *10

 (N.D. Ohio June 13, 2019).

        This Court is not convinced that a manufacturer’s choice to carry out its daily

 business activities constitutes control over a product after it has been sold. As pointed

 out by Defendants, in State ex rel. Hunter v. Johnson & Johnson, 499 P.3d 719 (Okla. 2021),

 the Oklahoma Supreme Court reversed a $465 million judgment against Johnson &

 Johnson on a public nuisance theory of liability, finding there is no common law tort duty

 to monitor how a consumer uses a product after it is sold. Specifically, the court held that

 a manufacturer has no control over its product once it is in the hands of distributors and


                                        Page 24 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 25 of 33 Page ID #2203




 wholesalers, no control over how consumers use the product regardless of any warning

 or instructions, and no control over the laws and regulations governing the distribution

 of its products. Id. at 728-29. To hold otherwise, would mean “a manufacturer could be

 held perpetually liable for its products under a nuisance theory.” Id. at 726. Moreover,

 the Hunter court held, “[e]xtending public nuisance law to the manufacturing, marketing,

 and selling of products . . . would allow consumers to convert almost every products

 liability action into a [public] nuisance claim.” Id. at 729-30 (citation and quotation marks

 omitted). The court recognized the “clear national trend to limit public nuisance to land

 or property use,” and to reject the application of public nuisance to products. Id. at 730.

        This Court agrees with that trend. Paraquat is a legally sold product, and

 Defendants exerted no control over Paraquat at the time of its application. To allow

 Plaintiffs to bring a public nuisance claim simply because Defendants carried on their

 normal day-to-day business operations while Paraquat was allegedly causing Plaintiffs’

 injuries would expand the tort beyond its intended purpose.

        For these reasons, Plaintiffs’ public nuisance claims must fail. The public nuisance

 claims in the cases identified in Defendants’ Appendix (Doc. 351-1 at pp. 32-36) are

 dismissed.

 III.   Warranty Claims

        Defendants contend the Court also should dismiss the warranty and consumer

 protection claims brought by Plaintiffs who have invoked state laws that bar claims

 alleging physical injuries caused by a manufacturer’s product. Specifically, Defendants

 seek dismissal of claims brought in states where:


                                       Page 25 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 26 of 33 Page ID #2204




         x   exclusive products liability laws subsume any actions based in warranty
             or consumer protection;

         x   the law limits warranty remedies to certain individuals or requires pre-
             suit notice to a defendant of an alleged breach; or

         x   consumer protection laws limit recovery to purchasers of goods for
             personal, family, or household use or preclude recovery for physical
             harm.

 The Court addresses each argument in turn.

         A. Preclusion by State Product Liability Laws: Indiana, Kansas, Louisiana,
            Mississippi, North Carolina, Washington

         Defendants assert the product liability acts (“PLAs”) of Indiana, Kansas,

 Louisiana, Mississippi, North Carolina, and Washington provide the exclusive remedy

 for product-based personal injuries and, thus, subsume any defective product claims

 brought under those states’ commercial codes or consumer protection acts. In these states,

 Defendants contend, Plaintiffs’ warranty claims and consumer protection claims must

 fail.

         In response, Plaintiffs argue that many individuals were exposed to Paraquat

 before PLAs were enacted in these states or their dates of exposure are unstated. Thus, it

 is possible they were exposed before the relevant PLAs were enacted and the laws do not

 serve to preclude their claims. For example, the North Carolina PLA became effective in

 October 1979. Thus, any North Carolina Plaintiff who alleges exposure prior to 1979

 would not be barred from bringing a warranty or consumer fraud claim. See Bernick v.

 Jurden, 293 S.E.2d 405, 413 (N.C. 1982) (holding substantive changes to product liability

 law in North Carolina PLA do not apply to claims where injury preceded PLA’s effective

 date). They also argue that it is plausible that neurological injury occurs upon exposure

                                        Page 26 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 27 of 33 Page ID #2205




 to Paraquat, even if the injury and its cause are discovered much later. Plaintiffs claim in

 a footnote that this analysis is consistent with their contention that their claims are timely

 because a claim arises for purposes of application of a PLA when the injury occurs, but

 for statute of limitations purposes, a claim does not accrue until the injury is discovered.

        The Court disagrees. Either Plaintiffs’ injuries accrued when they were first

 exposed—and therefore their claims are not precluded by a later-enacted PLA but barred

 by a statute of limitations—or their injuries accrued when they discovered the injury—

 saving their claims from the statute of limitations but barring them under the relevant

 PLA. Plaintiffs cannot have it both ways. Because Plaintiffs assert their claims did not

 accrue until 2021 when they learned of the alleged connection between Paraquat and

 Parkinson’s disease, the Court is not persuaded that their claims pre-date the state PLAs.

 As a result, the PLAs of these states do apply.

        Nevertheless, Plaintiffs assert their breach of implied warranty claims should not

 be dismissed because they allege economic losses, and the PLAs at issue do not bar

 warranty claims for economic losses. True, the PLAs at issue do not bar contractual claims

 brought under the UCC where a plaintiff alleges “purely economic loss arising from the

 failure of the product or service to perform as expected.” Atkinson v. P & G-Clairol, Inc.,

 813 F. Supp. 2d 1021, 1025 (N.D. Ind. 2011) (quoting Gunkel v. Renovations, Inc., 822 N.E.2d

 150, 153–54 (Ind. 2005)); Corvias Mil. Living, LLC v. Ventamatic, Ltd., 450 P.3d 797, 804 (Kan.

 2019) (“[T]he Legislature has not cast the product liability net so wide as to subsume and

 extinguish other legally viable causes of action for the recovery of economic losses”

 including a pure contract claim); McKee v. Bowers Window & Door Co., 64 So. 3d 926, 940


                                        Page 27 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 28 of 33 Page ID #2206




 (Miss. 2011) (Mississippi Products Liability Act does not abrogate a statutory cause of

 action for breach of implied warranty); City of High Point, N. Carolina v. Suez Treatment

 Sols. Inc., 485 F. Supp. 3d 608, 627 (M.D.N.C. 2020) (noting that the PLA does not govern

 actions for breach of implied warranty seeking to recover economic losses); Touchet Valley

 Grain Growers, Inc. v. Opp & Seibold Gen. Const., Inc., 831 P.2d 724, 729 (Wash. 1992)

 (“‘Product liability claims’ based on breach of express or implied warranties can be raised

 either in tort under the WPLA or in contract under the Uniform Commercial Code.”).

        Under Louisiana’s PLA, “breach of implied warranty or redhibition is not

 available as a theory of recovery for personal injury, although a redhibition action is still

 viable against the manufacturer to recover pecuniary loss.” Jefferson v. Lead Indus. Ass’n,

 Inc., 930 F. Supp. 241, 245 (E.D. La. 1996), aff’d, 106 F.3d 1245 (5th Cir. 1997); In re Pradaxa

 Prod. Liab. Litig., No. 3:12-CV-60004-DRH, 2013 WL 3791509, at *9 (S.D. Ill. July 18, 2013)

 (“The LPLA allows for a redhibition claim only to the extent that the plaintiff seeks

 recovery of economic losses.”). An action for redhibition exists when “a defect in the thing

 sold renders it absolutely useless, or so inconvenient in use that the law supposes a buyer

 would not have purchased that item had he known of the vice.” Manning v. Scott-Hixson-

 Hopkins, Inc., 605 So. 2d 233, 235 (La. Ct. App. 1992). Plaintiffs assert they have stated

 claims for redhibition; therefore, their implied warranty claims should not be dismissed.

        In their Complaints, Plaintiffs allege Defendants impliedly warranted that

 Paraquat was of merchantable quality and fit for its ordinary purpose, and Defendants

 breached that warranty. Specifically, Plaintiffs claim Paraquat was not of merchantable

 quality or fit for its ordinary purpose when it was: (1) designed, manufactured,


                                         Page 28 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 29 of 33 Page ID #2207




 formulated, and packaged such that it was likely to be inhaled, ingested, and absorbed

 into the bodies of persons who used it; (2) when inhaled, ingested, or absorbed, it was

 likely to cause or contribute to cause Parkinson’s disease; and (3) there was no disclosure

 that use of and exposure to Paraquat carried an increased risk of developing Parkinson’s

 disease. And, consequently, Plaintiffs allege they developed Parkinson’s disease.

 Plaintiffs seek reasonable expenses and an award of punitive damages for the intentional

 disregard for the safety of Paraquat users. See, e.g., Causey v. Syngenta, No. 3:21-pq-790,

 Doc. 1 at p. 53. These allegations are sufficient to state a claim for breach of implied

 warranty.

        Yet Plaintiffs are only able to recover “the cost of the product and pure economic

 loss.” Id. at 1026. Economic loss includes the loss of the bargain, repair, and replacement

 cost, loss of profits, and/or goodwill, including diminution in value. In other words,

 economic loss is those damages that arise as a result of the failure of the product to

 perform to the level expected by the buyer, which is the core concern of traditional

 contract law.” Corvias Mil. Living, LLC, 450 P.3d at 801 (cleaned up). Defendants argue

 Plaintiffs’ implied warranty claims should be dismissed because they are seeking

 monetary damages for personal injury, not compensation for economic loss. The Court

 does not read Plaintiffs’ allegations so narrowly; they seek actual or compensatory

 damages, which encompasses any economic losses suffered. See Atkinson, 813 F. Supp. 2d

 at 1025-26 (finding plaintiff could bring a breach of implied warranty claim for damages

 including the cost of the product and economic loss from the failure of the product,

 despite mentioning punitive damages).


                                       Page 29 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 30 of 33 Page ID #2208




        Finally, the Court finds that Plaintiffs’ consumer protection claims in these states

 are not subsumed by the state PLAs. As Plaintiffs argue, the Washington PLA does not

 bar claims under its Consumer Protection Act, while the Louisiana PLA only applies to

 claims against product manufacturers—not sellers—and more discovery is needed on the

 roles of each defendant in this case. Moreover, Defendants have not provided any basis

 for the dismissal of consumer fraud claims in Indiana, Kansas, Mississippi, or North

 Carolina, as those states’ PLAs do not preclude consumer fraud claims. Defendants did

 not rebut this argument, so the Court will not dismiss Plaintiffs’ consumer protection

 claims in these states.

        B. Claims Outside the Scope of State Warranty Law

        Defendants argue the Court should dismiss warranty claims brought under

 19 state laws that extend horizontal privity only to the purchaser’s family, household

 members, and guests of the product’s actual purchaser. That is, non-purchaser plaintiffs

 such as employees, contractors, commercial invitees, and bystanders fall outside the

 scope of statutory warranty remedies in these states. Defendants also assert that in the

 four states that require vertical privity, Florida, Georgia, Kentucky, and Wisconsin, even

 purchasers of a product lack warranty rights against a defendant that did not directly sell

 them Paraquat. Thus, the Court should dismiss the warranty claims of Plaintiffs in these

 states if they failed to allege they bought the Paraquat products at issue directly from

 Syngenta or Chevron. Finally, Defendants contend many of Plaintiffs’ warranty claims

 should be dismissed for failure to provide pre-suit notification as required by the laws of




                                       Page 30 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 31 of 33 Page ID #2209




 22 states. Because most plaintiffs did not plead notice, their warranty claims should be

 dismissed.

        The Court agrees with Plaintiffs that Defendants have “paint[ed] the nuanced laws

 of multiple states with too broad of a brush.” (Doc. 696 at p. 18). With regard to horizontal

 privity, Defendants admit that a “small number” of states extend warranty rights to a

 buyer’s employees, but they do not specify which states. Nor do they analyze Plaintiffs’

 factual allegations and explain how they fail to meet the privity requirements. As to

 vertical privity, Plaintiffs note that Syngenta had express communications with

 purchasers through rebate programs; thus, it would be premature to dismiss claims for

 lack of vertical privity without further discovery into the terms and scope of the rebate

 programs. Finally, with regard to notice, Defendants fail to account for states that do not

 require notice when there is no direct buyer-seller relationship, states where the

 complaint itself constitutes notice, and states where pleading actual or constructive

 knowledge of the breach of warranty constitutes notice. And, of course, Defendants have

 been involved in related litigation in Illinois state court since 2017, putting them on notice

 of the claims in this MDL.

        For these reasons, the Court denies without prejudice Defendants’ motion to

 dismiss Plaintiff’s warranty claims.

 IV.    Consumer Protection Claims

        Lastly, Defendants seek dismissal of Plaintiffs’ consumer protection claims under

 a number of states’ laws. Defendants argue the consumer protection laws of California,

 Maine, Michigan, Missouri, and Pennsylvania require a plaintiff to have purchased goods


                                        Page 31 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 32 of 33 Page ID #2210




 or services for personal, family, or household services. Because Paraquat has no personal,

 family, or household use, Plaintiffs cannot plead violations of the applicable statutes;

 even if they purchased Paraquat for use on a family farm, the purchase was made in a

 commercial capacity. Additionally, the consumer protection laws of Iowa, Illinois, Maine,

 Minnesota, and Washington do not provide for monetary damages for personal injuries.

 Finally, claims alleged under Minnesota law by Plaintiffs have no apparent connection to

 Minnesota and must be dismissed, and claims arising under Idaho law fail because

 Plaintiffs do not allege the required contractual relationship with Defendants.

        Again, the Court declines to dismiss Plaintiffs’ consumer protection claims at this

 point in the litigation, with one exception. Plaintiffs argue that their consumer protection

 claims cannot be dismissed on a collective basis without examining the allegations

 contained in each complaint on a case-by-case basis, and the Court agrees. Determining

 which Plaintiffs properly alleged consumer protection claims requires a detailed

 comparison of each Plaintiff’s complaint to the law of that state, something Defendants

 have not done. And with regard to the states that do not allow damages for personal

 injury, even if only economic losses are allowed, Defendants have not explained why this

 requires the complete dismissal of Plaintiffs’ claims. As discussed above, the Court does

 not read the Complaints so narrowly as to exclude a claim for economic losses. Finally,

 Defendants have provided no authority that the purchase of Paraquat by themselves or

 an employer is insufficient to constitute a contractual relationship under Idaho law.

 Plaintiffs do not, however, dispute Defendants’ argument that out-of-state Plaintiffs with




                                       Page 32 of 33
Case 3:21-md-03004-NJR Document 954 Filed 02/14/22 Page 33 of 33 Page ID #2211




 no Minnesota connection cannot bring a Minnesota consumer protection claim.

 Accordingly, the claims listed in Appendix III-C shall be dismissed. (Doc. 352-6).

                                       CONCLUSION

       For these reasons, the Partial Motion to Dismiss filed by Defendant Chevron

 U.S.A. Inc. (Doc. 350) is GRANTED in part and DENIED in part. The public nuisance

 claims in the cases identified in the Appendix (Doc. 351-1 at pp. 32-36) are DISMISSED.

       The Partial Motion to Dismiss filed by the Syngenta Defendants (Doc. 352) is also

 GRANTED in part and DENIED in part. The consumer protection claims raised under

 Minnesota law, as identified in Appendix III-C (Doc. 352-6 at p. 32) are DISMISSED.


       IT IS SO ORDERED.

       DATED: February 14, 2022


                                                 ____________________________
                                                 NANCY J. ROSENSTENGEL
                                                 Chief U.S. District Judge




                                      Page 33 of 33
